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   8
                            UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11                                                 Case No: CV 21-9140-GW-AGRx
  12   BRIAN SMITH, JACQUELINE
       MOONEY, ANGELA BAKANAS, and                   ORDER GRANTING JOINT
  13   MATTHEW COLÓN, individually and               STIPULATION TO MODIFY THE
       on behalf of all others similarly situated,   NOVEMBER 15, 2022 MINUTE
  14
                           Plaintiffs,               ORDER
  15
                    vs.
  16
       VCA, INC. and THE PLAN
  17   COMMITTEE FOR THE VCA, INC.
       SALARY SAVINGS PLAN, and JOHN
  18   AND JANE DOES 1-50,
  19                       Defendants.
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  28                                                       [PROPOSED] ORDER GRANTING JOINT
                                                                 STIPULATION TO MODIFY THE
                                                             NOVEMBER 15, 2022 MINUTE ORDER
                                                                       CASE NO. 2:21-CV-09140
Case 2:21-cv-09140-GW-AGR Document 73 Filed 12/15/22 Page 2 of 2 Page ID #:586



   1         Based on the Parties’ Joint Stipulation to Modify the November 15, 2022
   2   Minute Order, and good cause having been shown, the Court orders the following
   3   modifications to the Minute Order (ECF No. 67):
   4         1.    The Court hereby vacates all currently set dates, with the expectation
   5               that a motion for preliminary approval of the settlement is filed no later
   6               than January 31, 2023.
   7         2.    A hearing on said motion will be held on February 16, 2023 at 8:30 a.m.
   8         IT IS SO ORDERED.
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  10   Dated: December 15, 2022
                                                              Hon. George H. Wu
  11                                                       United States District Judge
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  28                                                       [PROPOSED] ORDER GRANTING JOINT
                                                                 STIPULATION TO MODIFY THE
                                                2            NOVEMBER 15, 2022 MINUTE ORDER
                                                                       CASE NO. 2:21-CV-09140
